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UNITED STATES DISTRICT COURT

for the
DISTRICT OF MASSACHUSETTS

SCANNING TECHNOLOGIES INNOVATIONS LLC
Plaintiff

y Civil Action No.: 1:19-CV—-11000-LTS

SKYCORE LLC
Defendant

SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) Skycore LLC
Via Its Registered Agent:
Richard B. Eicher Jr.
397 Moody Street, Suite 202
Waltham, MA 02453

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -— or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) —— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:

David A Chavous, Esq.
CHAVOUS INTELLECTUAL PROPERTY LAW LLC
793 Turnpike Street, Unit 1
North Andover, MA 01845
If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

ROBERT M. FARRELL
CLERK OF COURT

/s/ ~ Miguel Lara
Signature of Clerk or Deputy Clerk

 

ISSUED ON 2019-04-29 15:08:42.0, Clerk USDC DMA
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Civil Action No.: 1:19-CV—-11000-LTS
PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())
This summons for (name of individual and title, if any) SEYC oh , Pte

j tH
EMER A>
was received by me on (date) S/F ; Le seca, Be PHAN,
B59 Pre0g sy SVE ze, Crrereart, MK

C1 T personally served the summons on the individual at (place)

on (date) > or

 

CJ T left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or
Xi I served the summons on (name of individual) _/2/¢€“/4)_ &- EVcHER SJ{__, who is

designated by law to accept service of process on behalf of (name of organization) SEYC 4 Lc.

on(date)  5/ bof) 7 ; or

 

CI T returned the summons unexecuted because :or

 

(1 Other (specify) :

My fees are $ for travel and $ for services, for a total of $ ¢ b .

I declare under penalty of perjury that this information is true.

/t2d/ HE ele

Dat 7 Server's Stenalure

SUN STE — (P1OCHE SA 7

Printed name and title
QUICKSERY, INC.
RO. | 59103

Milton, MA 02186

  
 

 

 

Server's Address

Additional information regarding attempted service, etc:
